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January 29, 2021
By ECF

The Honorable Raymond J. Dearie
United States District Judge
United States District Court
Eastern District of New York

225 Cadman Plaza East

Brooklyn, New York 11201

Re: United States v. Barber et al.
Criminal Docket No. 19-239 (RJD)
Dear Judge Dearie:

Having been provided potential court dates for the trial of Wesley Blake
Barber, the attorneys for Wesley Blake Barber are available on the following days to
begin jury trial in this matter.

August 16, 2021

November 8, 2021
November 15, 2021

   
   

Respectfully subs

 

cc: Clerk of the Court (RJD) (by ECF)
All Counsel (by ECF)

 
